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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


  K. MIZRA LLC,                                 )
                                                )
         Plaintiff,                             )
                                                )        Case No. 2:23-cv-02430-JPM-tmp
  v.                                            )
                                                )
  BROTHER INDUSTRIES, LTD. and                  )
  BROTHER INDUSTRIES (U.S.A.), INC.,            )
                                                )
         Defendants.


              ORDER GRANTING MOTION TO AMEND COMPLAINT



       Before the Court is K. Mizra LLC’s Unopposed Motion to Amend Complaint to Add

and Remove Parties, Memorandum and Certificate of Consultation filed on September 25,

2023. (ECF No. 11.) The Motion is GRANTED. Plaintiff may amend the Complaint (ECF

No. 1) to remove Brother Industries, Ltd. And Brother Industries (U.S.A.), Inc. as Defendants

and replace them with Brother International Corporation as Defendant by October 16, 2023.


       SO ORDERED, this 29th day of September, 2023.
                                                     /s/ Jon P. McCalla
                                                    JON P. McCALLA
                                                    UNITED STATES DISTRICT JUDGE
